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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                    Fo14 Pierce D ivision

                       CaseNum ber: 12-14426-CIV -M ARTlNEZ-LYNCH

  KATHLEEN ERSKINE,

          Plaintiff,

  VS.

  PALISADES COLLECTION ,LLC;and DOE
  1-5,

          D efendants.
                                          /

                   FINAL ORDER OF DISM ISSAL W ITH PREJUDICE AND
                   ORDER DENYING ALL PENDING M OTIO NS AS M OOT

          THISM ATTER isbeforetheCourtuponPlaintiffsNoticeofVoluntaryDismissal(D.E.

  No.10).Itis:
          ADJUDGED thatthisactionisDISM ISSED with prejudice.ltisalso:
          ADJUDGED thata11pending motionsin thiscaseareDENIED asm oot,and thiscaseis

  CLOSED.
          DONEANDORDEREDinChambersatMiami,Florida,thisJ dayofFebruary,
  2013.
                                                                    z/

                                                         f

                                               JO E .M ARTINEZ
                                               1.
                                                1N 1 E STATES DISTRICT JUDGE

   Copiesprovided to:
   M agistrate Judge Lynch
   A11CounselofRecord
